Case 1:12-cr-00132-JMB         ECF No. 1502, PageID.21230            Filed 02/03/15      Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

                Plaintiff,                                    Case No. 1:12-CR-132

 v.                                                           HON. ROBERT HOLMES BELL

 FRANCISCO MARTINEZ, JR.,

             Defendant.
 ____________________________________/


                             MEMORANDUM OPINION AND ORDER

        Defendant Francisco Martinez, Jr. has filed a motion for modification or reduction of

 sentence (ECF No. 1442) pursuant to 18 U.S.C. §3582(c)(2) on the basis of Amendment 782 of the

 United States Sentencing Guidelines, made retroactive by the Sentencing Commission.

        Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

 has been sentenced based on a sentencing range that has subsequently been lowered by the

 Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States Sentencing

 Guidelines reduced by two levels the offense levels assigned to the quantities that trigger the

 statutory mandatory minimum penalties in U.S.S.G. §§ 2D1.1 and 2D1.11. These modifications

 were made retroactive effective November 1, 2014. U.S.S.G. § 1B1.10.

        However, because the Court varied and sentenced as if Defendant had a total offense level

 of 30 to reflect the proposed changes under Amendment 782, the Probation Office has found

 Defendant ineligible for a further reduction in sentence under Guideline Amendment 782. No

 objections have been filed to the Report of Eligibility within the time frame prescribed.

        Therefore, IT IS HEREBY ORDERED that Defendant's motion for modification of sentence
Case 1:12-cr-00132-JMB      ECF No. 1502, PageID.21231          Filed 02/03/15   Page 2 of 2




 (ECF No. 1442) pursuant to 18 U.S.C. § 3582(c)(2) is DENIED.




 DATED: February 2, 2015                  /s/ Robert Holmes Bell
                                          ROBERT HOLMES BELL
                                          UNITED STATES DISTRICT JUDGE
